12-12020-mg   Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 1 of 113




      EXHIBIT 4
       PART 2
12-12020-mg   Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 2 of 113
12-12020-mg   Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 3 of 113
12-12020-mg   Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 4 of 113
12-12020-mg   Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 5 of 113
12-12020-mg   Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 6 of 113
12-12020-mg   Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 7 of 113
12-12020-mg   Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 8 of 113
12-12020-mg   Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 9 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 10 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 11 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 12 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 13 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 14 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 15 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 16 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 17 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 18 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 19 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 20 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 21 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 22 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 23 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 24 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 25 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 26 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 27 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 28 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 29 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 30 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 31 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 32 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 33 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 34 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 35 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 36 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 37 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 38 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 39 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 40 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 41 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 42 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 43 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 44 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 45 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 46 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 47 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 48 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 49 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 50 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 51 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 52 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 53 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 54 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 55 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 56 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 57 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 58 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 59 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 60 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 61 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 62 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 63 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 64 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 65 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 66 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 67 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 68 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 69 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 70 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 71 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 72 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 73 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 74 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 75 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 76 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 77 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 78 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 79 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 80 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 81 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 82 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 83 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 84 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 85 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 86 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 87 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 88 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 89 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 90 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 91 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 92 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 93 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 94 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 95 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 96 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 97 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 98 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 99 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 100 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 101 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 102 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 103 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 104 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 105 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 106 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 107 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 108 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 109 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 110 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 111 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 112 of 113
12-12020-mg    Doc 3358-5 Filed 04/04/13 Entered 04/04/13 17:07:10   Exhibit 4
              Part 2 Contract Attorney Documentation Pg 113 of 113
